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12 Tanya Hamm
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Tanya Hamm,                                     Case No.: 2:17-cv-03821-JJT
17
                    Plaintiff,
18
19        vs.                                      NOTICE OF SETTLEMENT AS TO
                                                   DEFENDANT TRANS UNION, LLC
20 Experian Information Solutions, Inc., et al.,   ONLY
21
                  Defendants.
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23
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25         NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Trans Union, LLC,
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           in the above-captioned case have reached a settlement. The parties anticipate
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                                               1
     Case 2:17-cv-03821-JJT Document 60 Filed 12/07/18 Page 2 of 3



1     filing a Stipulation of Dismissal with Prejudice as to Defendant Trans Union,
2
      LLC ONLY, pursuant to Fed. R. Civ. P. 41(a) within 60 days.
3
4     RESPECTFULLY SUBMITTED this 7th day of December 2018.
5                                        KENT LAW OFFICES
6
7
                                          By: /s/ Trinette G. Kent
8                                         Trinette G. Kent
                                          Attorneys for Plaintiff,
9
                                          Tanya Hamm
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